     Case 2:06-cr-00058-JAM-EFB Document 344 Filed 07/16/09 Page 1 of 3


 1   BLACKMON & ASSOCIATES
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 2   JONATHAN C. TURNER (SBN 191540)
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     Telephone: (916) 441-0824
 5   Facsimile: (916) 441-0970
 6   Attorneys for Defendant,
     MANJIT KAUR RAI
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 8
                           UNITED STATES DISTRICT COURT
 9
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
     UNITED STATES OF AMERICA,                 CASE NO.: CR. S-06-0058 FCD
12
                 Plaintiff,                    STIPULATION AND ORDER
13                                             REGARDING TEMPORARY RETURN OF
           vs.                                 PASSPORT
14
     JAGPRIT SINGH SEKHON, JAGDIP
15   SINGH SEKHON, MANJIT KAUR RAI,
16   aka Manjit Kaur Kang, IOSIF
     CAZA, and LUCIANA HARMATH,
17
                 Defendants.
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19
           IT IS HEREBY STIPULATED by defendant Manjit Kaur Rai,
20
     through her counsel Clyde M. Blackmon, and the United States of
21
     America, through its counsel Benjamin B. Wagner, that Ms. Rai’s
22
     Canadian passport, which is now in the possession of the Court
23
     Clerk’s Office, may be released temporarily to Ms. Rai’s counsel
24
     so that it may be transmitted to Canadian authorities for
25
     renewal.
26
           Ms. Rai is a Canadian citizen.        On October 19, 2006, the
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     day after she was indicted in this matter, she surrendered her
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                                  STIPULATION AND ORDER
                         REGARDING TEMPORARY RETURN OF PASSPORT
     Case 2:06-cr-00058-JAM-EFB Document 344 Filed 07/16/09 Page 2 of 3


 1   Canadian passport to the Court Clerk’s Office as a condition of
 2   her pretrial release.      That passport has now expired.        Since Ms.
 3   Rai is not a citizen of the United Sates, she will be deported
 4   to Canada once she completes any sentence which may be imposed
 5   upon her by the Court as a result of her recent conviction in
 6   this case.    It is anticipated that when she is released from
 7   custody by the Bureau of Prisons she will then be placed in
 8   custody by Department of Homeland Security immigration
 9   authorities.     If her Canadian passport is not current at that
10   point, she will remain in Homeland Security Custody for a longer
11   period of time than if she had a current passport.           Therefore,
12   it is necessary that Ms. Rai’s Canadian passport be renewed at
13   this time.
14          It is understood by the parties that Ms. Rai’s expired
15   Canadian passport shall be released to her counsel, Clyde M.
16   Blackmon, who will transmit it, along with the necessary paper
17   work, to Canadian authorities for renewal.          Once the passport is
18   renewed it will be returned to counsel by the Canadian
19   authorities, and counsel will then return it to the Court
20   Clerk’s Office.     The parties understand and agree that neither
21   the expired passport nor the renewed passport will be in the
22   actual possession of Ms. Rai at any time.
23   IT IS SO STIPULATED.
24   DATED: July 15, 2009               _/s/ Clyde M. Blackmon for _____
                                        BENJAMIN B. WAGNER
25                                      Assistant United States Attorney
26
                                         _/s/ Clyde M. Blackmon__________
27                                       CLYDE M. BLACKMON
                                         Attorney for Defendant,
28                                       MANJIT KAUR RAI

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                                  STIPULATION AND ORDER
                         REGARDING TEMPORARY RETURN OF PASSPORT
     Case 2:06-cr-00058-JAM-EFB Document 344 Filed 07/16/09 Page 3 of 3


 1                                       ORDER
 2         IT IS HEREBY ORDERED THAT Manjit Kaur Rai’s expired
 3   Canadian passport which is now in the possession of the Court
 4   Clerk’s Office shall be released temporarily to her counsel,
 5   Clyde M. Blackmon, so that it may be transmitted to Canadian
 6   authorities for renewal.       Once the passport is renewed it shall
 7   be returned to the Court Clerk’s Office.
 8         IT IS FURTHER ORDERED THAT Manjit Kaur Rai shall not have
 9   in her actual possession at any time either the expired passport
10   or the renewed passport.
11   IT IS SO ORDERED.
12
13   DATED: July 16, 2009             _______________________________________
                                      FRANK C. DAMRELL, JR.
14                                    UNITED STATES DISTRICT JUDGE
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                                  STIPULATION AND ORDER
                         REGARDING TEMPORARY RETURN OF PASSPORT
